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                            IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:                                                Bankruptcy No. 20-11291-mdc

 MARCUS A. LITTLE and                                  Chapter 13
 SHANYEL LITTLE,
                                                       Document No.
               Debtors,

 SPECIALIZED LOAN SERVICING, LLC. AS
 SERVICING AGENT FOR TOWD POINT
 MORTGAGE TRUST ASSET-BACKED
 SECURITIES, SERIES 2019-SJ3, U.S. BANK
 NATIONAL ASSOCIATION, AS INDENTURE
 TRUSTEE,

               Movant,

          v.

 MARCUS A. LITTLE, SHANYEL
 LITTLE and WILLIAM C. MILLER, Trustee,

                 Respondents.


                          MOTION FOR RELIEF FROM THE AUTOMATIC STAY

          AND NOW, comes Movant, Specialized Loan Servicing, LLC, As Servicing Agent for Towd

Point Mortgage Trust Asset-Backed Securities, Series 2019-SJ3, U.S. Bank National Association, as

Indenture Trustee (the “Movant”), by and through its undersigned counsel, Bernstein-Burkley, P.C., and

files this Motion for Relief from the Automatic Stay (the “Motion”), represents as follows:

                                              THE PARTIES

          1.     Respondents, Marcus A. Little and Shanyel Little (“Debtors”), are adult individuals with

a place of residence located at 3128 N. Spangler Street, Philadelphia, PA 19132.

          2.     William C. Miller, is the duly appointed Chapter 13 Trustee and is currently acting in

such capacity.

                                     JURISDICTION AND VENUE

          3.     This matter is a core proceeding and this Court has jurisdiction pursuant to 28 U.S.C. §

1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. Movant seeks relief pursuant to 11

U.S.C. § 362(d) and FRBP 4001 and 9014.
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                                           FACTUAL BACKGROUND

        4.      On or about March 2, 2020, Debtor filed a voluntary petition for relief pursuant to

Chapter 13 of the Bankruptcy Code.

        5.      The Movant holds an Open-end Mortgage (the “Mortgage”) on Debtor’s real property

located at 3128 N. Spangler St, Philadelphia, PA 19132 ("Property"), recorded in the Office of the

Commissioner of Records for the City of Philadelphia , to secure an Equity Maximizer Agreement and

Disclosure Statement (the “Note”) with a principal balance of $20,000.00. True and correct copies of the

Mortgage, Assignments of Mortgage and Note are attached hereto as Exhibits A, B, and C, respectively.

        6.      The outstanding balance owed to the Movant on the above referenced Note is $22,511.81,

which includes: $1,095.22 in accrued interest.

        7.      Pursuant to the Note, mortgage payments are due on the 1st day of each month. The

monthly mortgage payment is $243.34.

        8.      The Property is also subject to another mortgage to Nationstar Mortgage d/b/a Mr.

Cooper who has filed a claim in the amount of $3600.50

        9.      Debtors have estimated the value of the Property as $118,314.00 on Schedule D of their

Voluntary Petition. See, Voluntary Petition, Section D.

        10.     Debtor’s Chapter 13 Plan requires Debtors to make monthly Mortgage payments to the

Movant outside of the Plan.

        11.     Debtors have failed to make post-petition mortgage payments due to the Movant.

Debtors are currently five post-petition payments in arrears and is due for the March 2020 post-petition

payment.

        12.     Specialized Loan Servicing, LLC services the loan on the Property referenced in this

Motion. In the event the automatic stay in this case is modified, this case dismisses, and/or the Debtor

obtain a discharge and a foreclosure action is commenced on the mortgaged property, the foreclosure will

be conducted in the name of Movant or Movant's successor or assignee. Movant, directly or through an

agent, has possession of the Note. The Note is either made payable to Movant or has been duly endorsed.

Movant is the original mortgagee or beneficiary or the assignee of the Mortgage/Deed of Trust.
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        13.     Therefore, Specialized Loan Servicing, LLC. As Servicing Agent for Towd Point

Mortgage Trust Asset-Backed Securities, Series 2019-SJ3, U.S. Bank National Association, as Indenture

Trustee is entitled to relief from the automatic stay for cause, including the lack of adequate protection,

because Debtors have failed to make post-petition Mortgage payments to Specialized Loan Servicing,

LLC. As Servicing Agent for Towd Point Mortgage Trust Asset-Backed Securities, Series 2019-SJ3, U.S.

Bank National Association, as Indenture Trustee 11 U.S.C. §362(d)(1).

        WHEREFORE, Movant, Specialized Loan Servicing, LLC. As Servicing Agent for Towd Point

Mortgage Trust Asset-Backed Securities, Series 2019-SJ3, U.S. Bank National Association, as Indenture

Trustee, respectfully requests that this Honorable Court enter an Order granting Specialized Loan

Servicing, LLC. As Servicing Agent for Towd Point Mortgage Trust Asset-Backed Securities, Series

2019-SJ3, U.S. Bank National Association, as Indenture Trustee, relief from the automatic stay with

regard to the real property located at 3128 N. Spangler St, Philadelphia, PA 19132.

                                                           Respectfully submitted,

                                                           BERNSTEIN-BURKLEY, P.C.

                                                           By:/s/ Keri P. Ebeck
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                                                           Counsel for Specialized Loan Servicing, LLC.
                                                           As Servicing Agent for Towd Point Mortgage
                                                           Trust Asset-Backed Securities, Series 2019-SJ3,
                                                           U.S. Bank National Association, as Indenture
                                                           Trustee
Dated: July 27, 2020
